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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


Civil Action No. 1:20-cv-00942


SENSORIA, LLC, directly on its own behalf
and derivatively on behalf of CLOVER TOP
HOLDINGS, INC., a Delaware corporation;
and GORDON MORTON,

                            Plaintiffs,
       vs.

JOHN D. KAWESKE; CHRISTOPHER S.
PETERSON; CLOVER TOP HOLDINGS,
INC., a Delaware corporation; CLOVER
TOP HOLDINGS, INC., a Colorado
corporation; AJC INDUSTRIES, LLC;
DURANGO MANAGEMENT, LLC;
SUNLIFE AG, LLC; MMJ 95, LLC;
TWEEDLEAF LLC, a Colorado limited
liability company; TWEEDLEAF, LLC, a
Delaware limited liability company;
LIFESTREAM HOLDINGS LLC;
ORDWAY FARMS LLC; NORTH STAR
HOLDINGS aka NORTH STAR
HOLDINGS, INC.; MANUEL WELBY
EVANGELISTA aka WELBY
EVANGELISTA; DJDW, LLC; JW
COLORADO, LLC; JW ORDWAY, LLC;
JW TRINIDAD, LLC; BRIAN
TANNENBAUM; TANNENBAUM &
TROST, LLC fka TANNENBAUM,
TROST & BURK, LLC; and DOES 1-100,

                            Defendants.



                    VERIFIED COMPLAINT AND JURY DEMAND
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                                       INTRODUCTION

       1.      This action centers principally on wrongdoing by John D. Kaweske, a serial

investments offender found liable multiple times over the years and barred from the securities

industry for securities fraud, breach of fiduciary duty, and other wrongful investment-related

conduct. Here again, Kaweske has proven adept at separating people from their money using a

shell game complete with numerous different entities, unlawful corporate and asset transfers,

manipulated transactions, and material misrepresentations and omissions.

       2.      Using Clover Top Holdings, Inc., as his original vehicle, Kaweske solicited

hundreds of thousands of dollars in investment funds for the Colorado cannabis business from

plaintiff Sensoria, LLC, and other investors, with fraudulent misrepresentations and omissions,

then converted the resulting corporate opportunities to his own benefit, leaving their investments

worthless while reaping the rewards for himself. To do so, he took affirmative steps to hide his

past as a registered securities representative who was barred from the securities industry by the

National Association of Securities Dealers for doing exactly what he has done here – misusing

investor funds and engaging in conduct that caused them harm and great loss – all, as the NASD

found, without “any contrition or remorse.” His conduct here includes obfuscating his past with

internet content, including creating fake social media profiles using the photograph of the former

Ukrainian Minister of Education and Science, creating numerous different social media profiles

of himself stuffed with content to scramble online traffic and lead searchers away from his legal

misdeeds, and, apparently, hiring search engine optimization specialists to push his past

securities fraud problems to lower search result pages. He has also created a web of entities

through which he operates in Colorado, making it difficult to trace his conduct and putting the

burden on investors to hire legal counsel to ferret out his conduct. As with his NASD



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misconduct, Kaweske shows no contrition or remorse here, telling this investor plaintiff that it

“owns nothing” despite its large investment – now lost – and despite Kaweske’s promises of big

returns. Meanwhile, Kaweske successfully operates for himself through his other, undisclosed

entities the very cannabis-related business in which Sensoria invested. This lawsuit seeks redress

for that misconduct against Kaweske, his entities, and those who have helped him accomplish his

plan.

                                            PARTIES

        3.     Plaintiff Sensoria, LLC (“Sensoria”) is a Utah limited liability company owned

solely by plaintiff Gordon Morton, an individual citizen of the State of Utah.

        4.     Defendant John D. Kaweske is an individual citizen of the State of Colorado.

        5.     Defendant Christopher S. Peterson is an individual citizen of the State of

Colorado or Arizona.

        6.     Defendant Clover Top Holdings, Inc. (“Clover Top”) is a Delaware corporation

with its principal place of business in Colorado. Clover Top’s registered agent in Colorado is The

Company Corporation.

        7.     Defendant Clover Top Holdings, Inc. (“Clover Top Colorado”) is a Colorado

corporation with its principal place of business in Colorado. Clover Top Colorado’s registered

agent is Peterson.

        8.     Defendant AJC Industries, LLC (“AJC”) is a Colorado limited liability company

with its principal place of business in Colorado. According to the Colorado Secretary of State’s

website (https://www.sos.state.co.us/biz/), Kaweske is AJC’s sole member.

        9.     Defendant Durango Management, LLC (“Durango”) is a Colorado limited

liability company with its principal place of business in Colorado. According to the Colorado



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Secretary of State’s website, Clover Top is Durango’s sole member. Durango’s registered agent

is Tannenbaum, Trost & Burk, LLC.

       10.     Defendant Sunlife AG, LLC (“Sunlife”) is a Colorado limited liability company

with its principal place of business in Colorado. According to the Colorado Secretary of State’s

website, Sunlife’s registered agent and manager is Kaweske.

       11.     Defendant MMJ 95, LLC (“MMJ”) is a Colorado limited liability company with

its principal place of business in Colorado. According to the Colorado Secretary of State’s

website, MMJ’s sole member and registered agent is Kaweske.

       12.     Defendant TweedLeaf LLC is a delinquent Colorado limited liability company

with its principal place of business in Colorado. According to the Colorado Secretary of State’s

website, TweedLeaf LLC’s registered agent is Kaweske.

       13.     Defendant TweedLeaf, LLC (“TweedLeaf Delaware”) is a Delaware limited

liability company with its principal place of business in Colorado.

       14.     Defendant Lifestream Holdings LLC (“Lifestream”) is a Colorado limited liability

company with its principal place of business in Colorado. Lifestream’s registered agent is

Tannenbaum & Trost, LLC.

       15.     Defendant Ordway Farms LLC (“Ordway Farms”) is a delinquent Colorado

limited liability company with its principal place of business in Colorado. According to the

Colorado Secretary of State’s website, Ordway Farms’ registered agent is Kaweske.

       16.     Defendant North Star Holdings aka North Star Holdings, Inc. (“North Star”) is a

Wyoming corporation with its principal place of business in Colorado. According to the websites

for the Colorado Secretary of State and the Wyoming Secretary of State




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(https://soswy.state.wy.us/business/), Kaweske and Evangelista are its directors and Evangelista

is its registered agent in Colorado.

       17.       Manuel Welby Evangelista aka Welby Evangelista is an individual citizen of the

State of Utah.

       18.       DJDW, LLC, is a Utah limited liability company with its principal place of

business in the State of Utah. Evangelista is its owner.

       19.       JW Colorado, LLC (“JW Colorado”) is a Colorado limited liability company with

its principal place of business in Colorado. Kaweske is its registered agent.

       20.       JW Ordway, LLC (“JW Ordway”) is a Colorado limited liability company with its

principal place of business in Colorado. Kaweske is its registered agent.

       21.       JW Trinidad, LLC (“JW Trinidad”) is a Colorado limited liability company with

its principal place of business in Colorado. Kaweske is its registered agent.

       22.       Brian Tannenbaum is an individual citizen of the State of Colorado.

       23.       Tannenbaum & Trost, LLC (“Tannenbaum & Trost”), formerly known as

Tannenbaum, Trost & Burk, LLC (“Tannenbaum Trost & Burk”), is a Colorado limited liability

company with its principal place of business in Colorado. Tannenbaum & Trost’s registered

agent is Tannenbaum Trost & Burk. Tannenbaum & Trost changed its name with the Colorado

Secretary of State by a filing made August 1, 2019.

       24.       Defendants Does 1-100 are parties who participated in the transactions that are the

subject of this suit and do or may have responsibility and liability to Sensoria based on their

actions and/or inactions in connection therewith. Sensoria will amend this complaint if and when

such parties are identified.




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                                 JURISDICTION AND VENUE

       25.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 and 1367.

       26.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and pursuant to the

forum selection clause in the subject Subscription Agreement.

                                  GENERAL ALLEGATIONS

       27.     Clover Top was formed by Kaweske, Peterson, and Peterson’s wife, to engage in

all aspects of the cannabis business, beginning in Colorado and expanding elsewhere as the

business grew. Clover Top was incorporated in the State of Delaware on September 24, 2015.

The corporation was authorized to issue 6 million shares. The incorporator was The Company

Corporation. Kaweske and Peterson combined were the majority shareholders, with each owning

2.4 million shares, and Peterson’s wife owning another 1.2 million shares.

       28.     The initial directors of Clover Top were Kaweske, Peterson, and Peterson’s wife.

Peterson was designated as Chairman of the Board.

       29.     The initial officers of Clover Top were Kaweske as Chief Financial Officer and

Peterson as President and Secretary.

       30.     According to Peterson in 2019, TweedLeaf Delaware was intended to be and in

fact became a wholly owned subsidiary of Clover Top as of October 2015.

       31.     According to the United States Patent and Trademark Office trademark search

website (http://tmsearch.uspto.gov/), on July 31, 2015, TweedLeaf Delaware filed for federal

trademark and service mark registrations for the “TWEEDLEAF” word and drawing mark for

“T-shirts” and for “On-line retail store services featuring organic, holistic, naturopathic, and

homeopathic products, including foods, herbal dietary preparations and nutritional products,

nutraceuticals, massage oils, lotions, cosmetic products, clothing, and gifts; Retail store services



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featuring organic, holistic, naturopathic, and homeopathic products, including foods, herbal

dietary preparations and nutritional products, nutraceuticals, massage oils, lotions, cosmetic

products, clothing, and gifts.”

       32.     MMJ was formed on October 21, 2015. MMJ is a cannabis-related business in

Colorado.

       33.      On or about October 30, 2015, Clover Top retained Brian Tannenbaum and

Tannenbaum Trost & Burk to represent Clover Top. The legal services to be provided were:

“Representation and consulting regarding the purchase and/or sale of certain marijuana licenses,

and any other services the Client may request from time to time.” According to Peterson in 2019,

and as demonstrated by the other facts pleaded herein, Tannenbaum and his firm were retained as

legal counsel for Clover Top for both cannabis and corporate law.

       34.     Kaweske formed TweedLeaf LLC on November 19, 2015. TweedLeaf LLC is a

cannabis-related business in Colorado.

       35.     In or about January 2016, Clover Top executed a contract to purchase two real

estate holdings in Colorado Springs, one a marijuana dispensary facility and the other a “grow”

warehouse. These were existing licensed facilities operating under the name of Wellstone.

According to Kaweske, Clover Top intended to execute another contract shortly thereafter to

acquire a licensed entity from an unrelated group.

       36.     Durango was formed on January 26, 2016. Durango is a cannabis-related business

in Colorado. According to Peterson in 2019, Durango was intended to be and is a wholly owned

real estate management company established for the purposes of holding properties and leases

for TweedLeaf dispensaries and cultivation centers.




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       37.     On or about February 1, 2016, Durango purchased the two real estate holdings

that were the subject of Clover Top’s January 2016 contract: real property located at 1602 West

Colorado Avenue, Colorado Springs, Colorado 80904 (the “1602 Property”) and 2685 Durango

Drive (the “2685 Property”), Colorado Springs, Colorado 80910, along with personal property

associated therewith. The sales price was $1.4 million. The sales price and closing costs were

funded principally by $100,000 down, $1.15 million in loans from Colorado Street Partners,

LLC, a Wyoming limited liability company, and a $150,000 note secured by the property. The

settlement papers were signed by Dennis Grimmer as Manager of Durango. Dennis Grimmer is

Peterson’s father-in-law. The underlying Term Sheet dated January 11, 2016, referenced a

“Purchase of ‘Wellstone.’” It was on letterhead that said “tweedleaf™” and had an address of

330 East Costilla Street #418, Colorado Springs, Colorado 80903.

       38.     According to Peterson in 2019, funds were transferred to Tannenbaum, Trost &

Burk on February 5, 2016, for the purpose of Clover Top purchasing two existing medical

marijuana licenses, Nos. 402-00390 (dispensary license) and 403-00585 (cultivation license),

from AJC dba FRAM.

       39.     On or about March 11, 2016, Durango entered into a five-year written commercial

lease agreement for the 1602 Property with AJC d/b/a Front Range Alternative Medicines and

d/b/a FRAM. Per an appraisal conducted as of January 29, 2016, Durango and AJC had an

existing business relationship and the lease was not considered by the appraiser to be arms-

length. The monthly installment payments were to be made to 330 East Costilla Street #418,

Colorado Springs, CO 80903.




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        40.     The 2685 Property was purchased subject to an existing five-year written

commercial lease agreement between Colorado Street Partners, LLC, and Prisy & Associates,

LLC, a Colorado limited liability company.

        41.     In or about January 2016, defendants Kaweske and Peterson solicited Sensoria’s

principal, Gordon Morton, to invest in Clover Top. The initial solicitation took place in Lehi,

Utah, in the offices of XanGo LLC. Present were Kaweske, Peterson, Morton, and three others in

person. The meeting lasted approximately one hour to one-and-a-half hours. Kaweske and

Peterson followed up the meeting by providing Morton a printed and electronic copy of a pitch

deck within one week, engaging in at least three phone calls over the January to March 2016

time frame, and holding a lunch discussion in or about February or March 2016 between

Peterson and Morton at a lunch place near 222 South Main Street in downtown Salt Lake City,

Utah.

        42.     In the initial solicitation meeting, and in each subsequent meeting thereafter,

Kaweske and Peterson both represented to Morton that Clover Top would be the holding

company or the “mother ship” for all cannabis-related entities, technologies, and brands in

Colorado and expanding beyond Colorado as its success grew – including dispensaries, grow

operations, extraction technologies, intellectual property, other future ancillary entities, and all

similar services and businesses – whose profits would all inure to the benefit of Clover Top’s

shareholders.

        43.     The written materials Kaweske and Peterson provided stated that Clover Top was

“a Delaware Corporation established to make investments and operate businesses in the

burgeoning legal cannabis industry” and that “Clover Top intends to create a national brand for




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 medicinal dispensaries, online store and cannabis and hemp-based products.” The materials also

 represented the following with respect to Clover Top:

        Based in Colorado Springs, Colorado, Clover Top has purchased an existing medical
        marijuana commercial location as well as a cannabis cultivation facility and is integrating
        a second fully operational and licensed medicinal cannabis business into the newly
        purchased locations.

        The “mom and pop” business, which has been in existence since 2009, is one of the
        oldest licensed dispensaries and cultivation facilities in the state. The business generates
        between $60,000-$80,000 per month in gross revenues.

        Clover Top will use its 11,000 square foot cultivation facility, which is capable of
        growing over 4,000 plants and producing in excess of $400,000 a month of wholesale
        cannabis, for the the [sic] newly acquired cultivation license within 90 days.

        Clover Top also owns a 1,500 square foot medical marijuana dispensary located in a
        prime retail location within the same city and will open the first of a new medical
        dispensary chain called TweedLeaf™.

        CLOVER TOP HAS OBTAINED THE REGISTERED TRADEMARK OF
        TWEEDLEAF FOR BOTH RETAIL AND ONLINE SALES OF MEDICINAL
        BOTANICALS AND NUTRACEUTICALS NATIONWIDE.

 Kaweske, Peterson, and the written materials provided to Morton represented that the

 “TweedLeaf” brand and entity were and would be wholly owned 100% by Clover Top, that

 Clover Top would own and operate the TweedLeaf website online, and that the benefits of the

 TweedLeaf brand and operations would inure to Clover Top and its shareholders. The materials

 projected more than $123 million in annual net income for Clover Top within five years. The

 materials identified the management of Clover Top as Kaweske, Peterson, and his wife, and the

 name and contact information for the company as Clover Top Holdings, Inc., 330 East Costilla

 St. #418, Colorado Springs, Colorado 80903.

        44.    In none of the discussions pitching Clover Top did Kaweske disclose that he had

 previously been found to have violated federal securities laws and engaged in other conduct that

 involved breaches of trust and mishandling of investor funds. Specifically, Kaweske had been


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 the subject of four administrative proceedings before tribunals associated with the National

 Association of Securities Dealers (“NASD”) and at least three lawsuits alleging his involvement

 in inappropriate dealings with client funds or securities transactions:

                  a.    In Re Arbitration Between Taboga Panama Mineral Corp., Claimant, and

 R. K. Grace & Co., a dissolved Florida Corporation, and John D. Kaweske, Case No. 03-00446,

 an NASD Dispute Resolution Award issued March 24, 2004, in which the Claimant alleged

 unauthorized trades by Kaweske in the Claimant’s account. Kaweske was found liable for

 negligence and breach of fiduciary duty and ordered to pay to the Claimant compensatory

 damages of $173,841.00.

                  b.    In re Arbitration Between James Klingenstein, et al., Claimants v.

 Cardinal Capital Management, Inc., BNY Clearing Services, LLC, Hershel Smith, and John D.

 Kaweske, et al., Respondents, Case No. 04-08672, an NASD Dispute Resolution Award issued

 December 22, 2006, in which the Claimants alleged causes of action related to the purchase of

 stock and other securities. The causes of action included unauthorized transactions, respondeat

 superior, negligent supervision, control person liability, negligent hiring, unsuitable trades,

 churning, fraud, breach of fiduciary duty, breach of contract, violation of securities statutes and

 regulations, and violation of Massachusetts General Laws Ch. 93A § 2 (prohibiting unfair

 methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

 commerce). Kaweske was found liable and ordered to pay to Claimants compensatory damages

 of $71,442.13.

                  c.    Department of Enforcement, Complainant v. John D. Kaweske (CRD No.

 2309807), Respondent, Disciplinary Proceeding No. C07040042, a Hearing Panel Decision

 issued by the NASD Office of Hearing Officers on February 10, 2006. The NASD Department



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 of Enforcement issued a four-cause Complaint against Kaweske as a registered securities

 representative and principal for (1) failing to promptly return investor funds when a sales

 contingency was not met; (2) failing to establish an escrow account for a contingency offering;

 (3) making misrepresentations and omissions of material fact in connection with the sale of

 preferred stock; and (4) willfully failing to update his Form U-4 to disclose consumer

 complaints, civil litigation, and a notice that he was the subject of an investigation by NASD.

 The NASD Office of Hearing Officers found against Kaweske on all counts, concluding, among

 other things, that he had committed securities fraud under Section 10(b) of the Securities

 Exchange Act of 1934 and Rule 10b-5 promulgated thereunder by his fraudulent

 misrepresentations and omissions. The Hearing Panel concluded that Kaweske’s actions were

 “egregious.” The Hearing Panel concluded that “Kaweske orchestrated a scheme to obtain

 investor funds by misrepresenting the circumstances under which he intended to use them, and

 failed to return those funds as he represented that he would.” The Hearing Panel noted further

 that Kaweske “has not expressed any contrition or remorse.” The Hearing Panel barred Kaweske

 from associating with any member firm in any capacity, effectively barring him from working in

 the securities industry. The Hearing Panel also ordered him to make restitution of $140,000.00,

 plus interest to the Claimants. The Hearing Panel’s findings noted that Kaweske’s conduct

 involved the use of Subscription Agreements to sell preferred shares.

                d.      Department of Enforcement, Complainant v. John D. Kaweske, Miami,

 FL, Respondent, Complaint No. C07040042, a Decision issued by the NASD National

 Adjudicatory Council on February 12, 2007. The Decision affirmed the Hearing Panel’s findings

 and the bars imposed upon Kaweske for the “misconduct” found by the Hearing Panel. The




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 Decision eliminated the order of restitution imposed by the Hearing Panel and instead imposed a

 $140,000.00 fine against Kaweske.

                 e.     Robert L. Horowitz, Plaintiff v. R.K. Grace & Co., R.K. Grace Preferred,

 Inc., John D. Kaweske, et al., Defendants, Case No. 1:99-cv-10442-RCL, a case filed under the

 Securities Exchange Act in the United States District Court for the District of Massachusetts on

 February 26, 1999. The NASD Hearing Panel in Department of Enforcement v. Kaweske

 identified this lawsuit as filed by one of the Claimants in the disciplinary proceeding against

 Kaweske based on the allegations underlying the disciplinary proceeding. Kaweske settled for a

 payment to the Claimant of $80,000.00.

                 f.     IAB Island Ventures, S.A., Plaintiff v. Halcyon, S.A., Bluewater Partners,

 S.A., David Lillico, John D. Kaweske, et al., Defendants, Case No. 6:05-cv-00705-ACC-JGG, a

 securities fraud case filed in the United States District Court for the Middle District of Florida on

 May 6, 2005. Following the bankruptcy of some of the defendants, the case was dismissed on

 May 29, 2009.

                 g.     Securities and Exchange Commission v. John J. Kaweske, Case No. 1:95-

 cv-00296-EWN-OES, a case filed under the Securities Exchange Act in the United States

 District Court for the District of Colorado on February 6, 1995, in which Kaweske’s father, John

 J. Kaweske, was found to have committed 10b-5 federal securities fraud and ordered to pay a

 civil penalty of $115,000.00. According to the SEC, Kaweske received $100,000.00 from his

 father’s position by introducing officials from Crown Laboratories Inc. to his father and later

 receiving $100,000.00 in commissions from Crown, after Invesco funds managed by the elder

 Kaweske bought $2.5 million of shares in that company. The SEC alleged that Kaweske’s father




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 knew about the arrangement and helped make it, but told Invesco officials his son would not

 receive any money on the deal. Kaweske himself was not named as a defendant in that case.

        45.     In each of their discussions with Morton from January through March 2016,

 Kaweske and Peterson each represented that they would be managing their cannabis-related

 activities through Clover Top and/or through entities wholly owned by Clover Top and that

 Clover Top’s shareholders would receive the benefit of those activities. They also promised

 prompt repayment of initial investments and distributions as Clover Top started achieving

 success. They did not disclose the following:

                a.     Neither Kaweske nor Peterson had caused Clover Top to be registered to

 do business in Colorado.

                b.     Clover Top did not in fact own the cannabis-related properties or entities

 that Kaweske and Peterson represented it did.

                c.     Kaweske and Peterson would be receiving six-figure annual salaries from

 Clover Top. Kaweske and Peterson represented rather that if they took anything at all from

 Clover Top as a salary, it would be “modest.”

                d.     Peterson had formed a separate entity with the Clover Top name, Clover

 Top Colorado, which operated separately and was not owned by the Delaware corporation of the

 same name in which Peterson solicited Morton’s investment.

        46.     Unaware of these material facts, including that he had been solicited by a serial

 investment law offender, Morton signed a Subscription Agreement for Preferred Shares in

 Clover Top on April 4, 2016, indicating to Kaweske and Peterson that his investment would be

 held through a solely owned entity. On that same day, he paid Clover Top $100,000.00 to

 purchase 100,000 shares at $1.00 per share. According to Kaweske in November 2016, this was



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 Clover Top’s first outside investment, sometimes referred to by Clover Top as a “Series A”

 investment.

        47.     According to Peterson in 2019, Clover Top raised $675,000.00 in connection with

 its first tranche of investments from outside investors like Sensoria.

        48.     On April 25, 2016, Peterson wrote an email to legal counsel Brian Tannenbaum

 of Tannenbaum Trost & Burk and to the other directors saying, “We will be changing the name

 to TweedLeaf.” Tannenbaum responded, “You could change the name by adding the DBA of

 Tweedleaf to FRAM with a simple filing before you do the Change of Ownership. Then since

 you are purchasing FRAM you also own the DBA.”

        49.     On or about May 5, 2016, Kaweske caused fake social media profiles to be

 created for him on LinkedIn (https://www.linkedin.com/in/johndkaweske), Facebook

 (facebook.com/johndkaweske), Pinterest (pinterest.com/johndkaweske), and Twitter

 (twitter.com/johnDKaweske). These accounts were made in his name, John D. Kaweske, but

 employed a photograph of an individual appropriated from an obscure corner of the internet and

 a false biography that overlapped with Kaweske’s own. The photograph used was a publicly

 available photograph of Mykhailo (Michael) Zakharovych Zghurovskyi

 (https://en.wikipedia.org/wiki/Mykhailo_Zghurovsky). Zghurovskyi was a former Ukrainian

 Minister of Education and Science, and he is the current Rector/President of the National

 Technical University of Ukraine or “Igor Sikorsky Kyiv Polytechnic Institute”

 (https://en.wikipedia.org/wiki/Igor_Sikorsky_Kyiv_Polytechnic_Institute). The photograph

 employed first appeared on April 25, 2014, in a Ukrainian news article about a student at his

 school who had passed away (https://telegraf.com.ua/ukraina/mestnyiy/1249874-pogibshiy-v-

 slavyanske-student-uchilsya-v-kpi.html). The fake profiles purported to originate from Miami,



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 Florida, the site of the prior wrongdoing underlying one or more of Kaweske’s NASD

 proceedings, and affiliated this fake “John D. Kaweske” with the R.K. Grace investment firm

 that was named in the NASD proceedings. In fact, Kaweske, the defendant in this lawsuit, was

 owner, CEO, and president of R.K. Grace.

        50.     According to the Petersons, Kaweske admitted to them that he hired search engine

 optimization specialists to clean up elements of his past. He attributed that effort to a messy

 divorce and confusion with his father’s securities violation. However, on information and belief

 as set forth herein, Kaweske in fact used search engine optimization specialists to push his own

 past securities fraud problems to lower search result pages. In furtherance of this goal, Kaweske

 apparently created or caused to be created numerous different social media profiles of himself.

 Some contain the picture of Zghurovskyi, some are real, some are full of meaningless content,

 but all appear intended to drive traffic there and away from Kaweske’s NASD past. His “posts”

 include the equivalent of “spamming” or “botting” real and fake social media pages with inane

 and repetitious posts that say “Happy New Year,” for example, or “pinning” about things to do in

 Colorado Springs. He has numerous different accounts on the same social media provider and

 otherwise fills the internet with websites and pages and posts designed, on information and belief

 based on the facts described here, to minimize the chances of investors and others finding out

 about his many past securities violations. These include at least the following:

        Fake Twitter: twitter.com/johnDKaweske (Full of spam, no real Twitter. Created May
        2016)

        Fake Facebook: facebook.com/johndkaweske (Full of spam. Created May 2016, profile
        pictures and photos uploaded on May 5)

        Real Facebook: https://www.facebook.com/john.kaweske.1 (barely anything, seemingly
        real)

        Fake LinkedIn: https://www.linkedin.com/in/johndkaweske

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        Real LinkedIn #1: https://www.linkedin.com/in/johnkaweske

        Real LinkedIn #2: https://www.linkedin.com/in/jkaweske

        Real LinkedIn #3: https://www.linkedin.com/in/john-david-kaweske-33438a16b

        Real YouTube #1:
        https://www.youtube.com/channel/UCQT2ApRw2XacrnN1z3UeISw (barely anything,
        seemingly real)

        “Real” YouTube #2: https://youtu.be/SlzeAZGvtBQ (almost every video is spam, all
        uploaded on the same day, September 25, 2018)

        Fake Pinterest: https://www.pinterest.com/johndkaweske/ (full of spam)

        “Real” Pinterest: https://www.pinterest.com/JohnKaweskeCO/ (full of spam)

 These facts were not disclosed to the plaintiffs but were discovered only by their own

 investigation in preparing this complaint.

        51.     On or about June 27, 2016, Clover Top’s directors determined to transfer the

 ownership of Durango from Peterson’s father-in-law to Clover Top. They determined further to

 give him options in Clover Top for the assignment.

        52.     Kaweske contemporaneously purchased AJC Industries dba FRAM/Tweedleaf,

 which he maintains belongs solely to him and not to Clover Top. Kaweske did not disclose to the

 plaintiffs that he had purchased a cannabis business for his own benefit and not for the benefit of

 Clover Top. Brian Tannenbaum and Tannenbaum, Trost & Burk assisted Kaweske in this

 transaction. Kaweske did not advise Clover Top shareholders or potential investors such as

 Sensoria of these facts. According to Peterson in 2019, however, Clover Top purchased AJC in

 March 2016 for its two medical marijuana licenses (one dispensary and one cultivation), and

 AJC currently owns five marijuana licenses registered to Kaweske (the only Clover Top

 principal who had Colorado residency at the time).



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        53.     According to the Colorado Secretary of State’s website, Kaweske filed Amended

 and Restated Articles of Organization for Durango on July 6, 2016, identifying Clover Top as the

 sole owner of Durango, and listing Durango’s address as the 2685 Property. Durango

 subsequently became delinquent in its filings with the State until Kaweske filed a Statement

 Curing Delinquency on July 9, 2017, and Brian Tannenbaum and Tannenbaum, Trost & Burk

 filed a Statement Curing Delinquency on July 26, 2019.

        54.     According to Peterson in 2019, Kaweske oversaw all cultivation operations for

 Clover Top and its holdings as well as company finances, taxes, licenses, and legal issues in

 tandem with Tannenbaum, Trost & Burk. Peterson managed dispensary operations, patient care

 and online/offline marketing for TweedLeaf.

        55.     On August 8, 2016, Clover Top provided its first investor update. It represented,

 among other things, that Clover Top had signed agreements on March 11, 2016, “to purchase our

 first licensed medical marijuana business” and that “operations have been moved into Clover

 Top’s new Cultivation Facility and Medical Dispensary in Colorado Springs, Colorado.” It

 represented that the “First day of operational control was May 1, 2016,” and that “Monthly sales,

 thus far, have been:”

                May 2016 - $37,775

                June 2016 - $59,333

                July 2016 - $94,383

 Clover Top referred to its “initial holding” as “TweedLeaf,” referred to its “TweedLeaf” brand,

 and represented that “Negotiations are underway on a second TweedLeaf Medical Dispensary in

 northern Colorado Springs, approximately 20 minutes from our existing Dispensary.” The update

 stated that Clover Top had “raised approximately $500,000 in private funding” and that the

 company had “been able to produce phenomenal results.” It was signed by Kaweske, Peterson,

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 and Peterson’s wife; had an address of 330 East Costilla Street #418, Colorado Springs, CO

 80903; and included pictures from the 1602 Property and the 2685 Property. The update

 provided an email address of info@clovertop.com and identified a website of

 www.CloverTop.com.

         56.      According to the Colorado Secretary of State’s website, on August 23, 2016,

 Kaweske filed Amended and Restated Articles of Organization for AJC, identifying himself as

 the sole member. Kaweske did not advise Clover Top shareholders or potential investors such as

 Sensoria of this fact.

         57.      On October 12, 2016, Clover Top provided another investor update. It

 represented, among other things, that its “initial holding, TweedLeaf, has been operational for a

 little over five months and continues to experience increased growth.” It represented that sales to

 date had been:

                  May 2016 - $37,775

                  June 2016 - $59,333

                  July 2016 - $94,383

                  August 2016 - $109,530

                  September 2016. - $123,402

 It further represented, “We have secured licenses and property for the second TweedLeaf

 Medical Dispensary in northern Colorado Spring.” The update stated that Clover Top “raised

 $550,000 in private capital through ‘friends and family’ funding at a $6 million valuation,” and

 that a further offering was in development. It stated further, “We are also readying share

 certificates for your investments to date and plan to have them to you (along with some

 TweedLeaf swag) shortly.” It was signed by Kaweske, Peterson, and Peterson’s wife; had an

 address of 330 East Costilla Street #418, Colorado Springs, CO 80903; and included pictures

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 from the 1602 Property, the 2685 Property, and the anticipated “second Dispensary” site in

 northern Colorado Springs. The update provided an email address of info@clovertop.com and

 identified a website of www.CloverTop.com.

        58.     According to Peterson in 2019, MMJ provided additional medical marijuana

 dispensary and cultivation licenses that were purchased by Clover Top for its TweedLeaf

 dispensary #2 and cultivation center #2 in October 2016, with registration to Kaweske as the

 only Clover Top principal who had Colorado residency at the time. These were Nos. 402-01201

 and 403-01850.

        59.     On October 18, 2016, Kaweske told the other directors in an email, “We are

 scheduled for the MED [Colorado Marijuana Enforcement Division] on January 12, 201[7] at

 10:00am in Denver to transfer the license of MMJ 95, LLC to TWEEDLEAF, LLC.”

        60.     On November 1-3, 2016, Morton visited Colorado Springs and met with Kaweske

 and Peterson. Kaweske thanked Morton for being the first investor in Clover Top and promised

 him he would be the first investor paid. He also told Morton that Clover Top was “making

 money.” He did not disclose that he had himself secretly become involved in the cannabis

 business outside of Clover Top’s holdings.

        61.     According to the Colorado Secretary of State’s website, on November 15, 2016,

 Kaweske registered the TweedLeaf name and logo as a trademark with AJC, with a date of first

 use in commerce given as May 1, 2016. The goods or services identified were “Cannabis

 Dispensary/Retail Store and products derived from Cannabis or pertaining to Marijuana.”

 Kaweske did not disclose this fact to Clover Top shareholders or potential investors such as

 Sensoria.




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        62.     According to the Colorado Secretary of State’s website, on November 16, 2016,

 Kaweske formed Sunlife. On information and belief from this filing, Kaweske is Sunlife’s sole

 member. Kaweske also maintains in court filings made in pending cases in the State of Colorado

 (identified further below) that Sunlife is his own LLC and is not owned by Clover Top. On

 information and belief from those court filings, Sunlife is in the cannabis growing and cultivation

 business. Kaweske gave the principal office address of Sunlife as 19424 Highway 96 Unit C,

 Ordway, CO 81603. Kaweske did not disclose to Clover Top shareholders or potential investors

 such as Sensoria that he had started Sunlife or that he intended any separate cannabis business

 not to be a part of Clover Top. According to Peterson in 2019, Sunlife was intended to be Clover

 Top’s wholly owned real estate and property management company established for the purposes

 of holding properties and leases in Ordway, Colorado.

        63.     Morton formed Sensoria on November 17, 2016, relying on Kaweske’s and

 Peterson’s representations and omissions. Unaware that Kaweske and Peterson each had separate

 cannabis-related businesses apart from Clover Top, and unaware of the other omissions

 identified in the foregoing paragraphs, Sensoria paid Clover Top another $125,000.00 to

 purchase an additional 125,000 shares at $1.00 per share.

        64.     On November 25, 2016, Clover Top issued stock certificate “No. 6” for 225,000

 shares in Sensoria’s name dated November 25, 2016. It was signed by Peterson as President and

 Kaweske as Secretary.

        65.     According to the Colorado Secretary of State’s website, on January 10, 2017,

 Kaweske filed Amended and Restated Articles of Organization for MMJ identifying himself as

 the sole member. Kaweske did not advise shareholders such as Sensoria of this fact.




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        66.     On January 20, 2017, Kaweske and Peterson provided another investor update.

 The information provided in the update stated, among other things: “We are excited to provide

 an update on your investment in the Colorado Medical Cannabis industry. The initial holding,

 TweedLeaf, has been operational for a little over eight months. Thus far, sales have been:”

                May 2016 - $37,775

                June 2016 - $59,333

                July 2016 - $94,383

                August 2016 - $109,530

                September 2016 - $123,402

                October 2016 - $113,051

                November 2016 - $92,172

                December 2016 - $91,141

                January 2017 - $102,872 (month to date 1-20-17)

 The information continued, including the following: “Construction has begun on a second

 dispensary (“TweedLeaf North”) and is expected to be operational in March 2017. TweedLeaf

 North is situated on a one acre corner lot next to six lanes of highway in northern Colorado

 Springs near some of the most densely populated areas in the city.” It also stated: “TweedLeaf is

 expanding its Cultivation to include a greenhouse in Crowley County, Colorado, approximately 1

 hour and 15 minute drive southeast of Colorado Springs. TweedLeaf is leasing a 10,000 sq. foot

 greenhouse and 2,000 sq. foot warehouse on a two acre site. This expansion will both double

 TweedLeaf’s production capability and reduce operating costs for production of cannabis flower.

 This location will offer industrial space to produce cannabis infused products.” The update also

 said: “Thank you for your continued support and investment in Clover Top Holdings.” It was




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 signed by Kaweske, Peterson, and Peterson’s wife, and had a street address of 330 East Costilla

 Street #418, Colorado Springs, CO 80903.

        67.    According to Peterson in 2019, an investment offering was made to one Manuel

 Welby Evangelista aka Welby Evangelista and his entity, DJDW, LLC, in or about February

 2017. According to Peterson, DJDW signed a Term Sheet with Clover Top on February 22,

 2017, and invested $300,000.00 in Clover Top through DJDW.

        68.    Kaweske and Peterson subsequently introduced Evangelista to Sensoria, by

 telephone and email, as a new “team member.” According to Peterson in 2019, Evangelista

 joined Clover Top as Business Director in or about February 2017, in charge of raising funds for

 expansion, and in fact raised $950,000.00 between March and September 2017. Moving forward,

 Evangelista participated with Kaweske and Peterson in providing updates to investors, acted as

 business director for the TweedLeaf brand, worked onsite in Colorado, provided access for

 Sensoria to the TweedLeaf locations, and raised money for investment in Clover Top. No further

 investor updates were provided in writing but were rather provided individually to Morton and

 Sensoria by telephone from Kaweske, Peterson, and/or Evangelista. Those updates touted Clover

 Top as operating successfully and making substantial amounts of money, with revenues akin to

 the numbers shown on the written investor updates, and with web traffic on the TweedLeaf

 website supporting those claims.

        69.    According to Peterson and Evangelista, additional investment offerings in Clover

 Top were made to others – an investment group from China and individuals associated with the

 Denver Nuggets of the National Basketball Association. Sensoria understands Evangelista to

 have a familial relationship with the Chinese investment group based on the reference within

 Clover Top to Evangelista’s “uncle.”



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         70.    During this same time frame, according to Peterson in 2019, Kaweske and

 Evangelista, without the knowledge or consent of the Petersons or the Series A investors in

 Clover Top, allegedly sold securities in Ordway Farms to several investors, including a high-

 profile NBA power forward for an alleged 10% equity of $325,000.00 as well as his cousin for

 an alleged 2.5% equity.

         71.    According to Peterson in 2019, both Peterson and Kaweske on behalf of AJC

 signed a greenhouse lease agreement with Mr. Dean Hiatt of Ordway, Colorado, for use of his

 greenhouse located at 19977 Tamarack Circle, Ordway, CO 81063. Clover Top paid Hiatt a

 down payment of $39,500 and agreed to pay $20,000 per month to lease the greenhouse

 facilities.

         72.    According to Peterson in 2019, on August 4, 2017, Clover Top wired $168,501 to

 ABC Title & Closing for the purchase of 108 acres located at 19469 County Road H, Ordway,

 CO 81063. This property was registered to Sunlife, which was to be a wholly owned subsidiary

 of Clover Top. Kaweske sent Peterson and his wife an email on August 3, 2017, suggesting the

 name “Sunlife Agriculture” for the company to hold the property in Ordway, not disclosing that

 he had already previously formed Sunlife the previous year. Kaweske’s email said, “This

 company will be owned 100% by Clovertop.” According to Peterson in 2019, AJC was issued

 both medical and recreational marijuana cultivation licenses in Ordway for the County Road H

 property.

         73.    According to Kaweske in his court filings identified further below, on or about

 August 18, 2017, Kaweske caused Sunlife to purchase a warehouse building and three

 greenhouses in Ordway, Crowley County, Colorado, for use in the cannabis growing business.

 The greenhouses and the building were delivered to Sunlife at 19469 County Road “H,” Ordway,



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 CO 81063, a property owned by Sunlife, during September 2017. Based on information from

 both Peterson and Kaweske, Sensoria believes this is the land in Crowley County referred to in

 Clover Top investor updates as Clover Top’s “Cultivation” site. Sunlife leased this land and its

 improvements and buildings to AJC, also owned by Kaweske, on June 1, 2018. All these and any

 related cannabis activities were to inure to the benefit of Clover Top and its shareholders and

 sole owners. However, Kaweske now claims these all belong to him and his other entities.

 According to Peterson in 2019, Clover Top paid $249,983.00 via Clover Top check signed by

 Kaweske on August 21, 2017, for a greenhouse purchase on this land.

        74.     On September 12, 2017, Peterson as President of Clover Top caused Durango to

 file a Statement of Authority with the Colorado Secretary of State under Colo. Rev. Stat. Section

 38-20-172, identifying himself as the person authorized to execute an instrument transferring real

 property held in the name of Durango, with no limitation on his authority.

        75.     On September 18, 2017, the Colorado Department of Revenue, Enforcement

 Division – Marijuana, issued a letter to Peterson at an address of 5 Pine Road, Colorado Springs,

 CO 80903, stating: “The purpose of this correspondence is to inform you that on September 18,

 2017, your requested PEI [Permitted Economic Interest] application was approved by the

 Marijuana Enforcement Division (MED).” The identified License Type was PEI Registration.

 The identified License number was # PEI-00074.

        76.     At the time of Sensoria’s investment in Clover Top, Clover Top was not

 registered with the State of Colorado as a foreign corporation authorized to conduct business in

 the State of Colorado. The Colorado Secretary of State’s website shows Clover Top first

 registered as a foreign corporation authorized to conduct business in the State of Colorado on

 September 22, 2017. The principal office mailing address in Colorado was given as 330 E.



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 Costilla Street, Colorado Springs, Colorado 80903. The registered agent is The Company

 Corporation. Kaweske filed the document for Clover Top.

        77.     According to the Colorado Secretary of State’s website, Ordway Farms was

 formed on October 12, 2017. Its initial member was identified as “CLOVERTOP HOLDINGS,

 INC.” with an address at 330 E. Costilla Street, #418, Colorado Springs, CO 80903. According

 to Peterson in 2019, Ordway Farms was intended to be Clover Top’s wholly owned subsidiary.

        78.     On November 29, 2017, the Colorado Department of Revenue, Enforcement

 Division – Marijuana, issued a letter to AJC at an address of 330 E. Costilla St #418, Colorado

 Springs, CO 80903, stating: “The purpose of this correspondence is to inform you that on

 November 29, 2017, the requested PEI application, Christopher Peterson, was approved by the

 Marijuana Enforcement Division (MED).” The identified License Type was Optional Premises.

 The identified License number or numbers were # 403-01910, 403R-01022, 404R-00377. An

 identical letter was issued that day naming Peterson’s wife Renae. According to Peterson in

 2019, this information was provided to the Petersons by Tannenbaum.

        79.     According to Peterson in 2019, on December 2, 2017, Clover Top opened for

 business its second TweedLeaf dispensary in Colorado Springs, located at 5495 N. Academy

 Boulevard. This second dispensary was projected to more than double monthly revenues for

 TweedLeaf in Colorado Springs.

        80.     According to Peterson in 2019, on or about December 10, 2017, Kaweske shut

 Peterson and his wife out of Clover Top and purported to terminate their employment with

 Clover Top. According to an email from Kaweske to Peterson provided by Peterson in 2019,

 Clover Top had “raised approximately $2,500,000,” but its shareholders in Sensoria’s position

 “remain unaware of the current financial distress” of Clover Top. That same email blamed



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 Peterson and his wife for exorbitant spending helping cause that apparent current financial

 distress. These facts were not disclosed to shareholders in Sensoria’s position.

        81.     According to the Colorado Secretary of State’s website, Kaweske formed JW

 Colorado and JW Ordway on January 18, 2018, with Kaweske and Evangelista as members. The

 following state trademarks have been registered to JW Colorado as of April 24, 2019:

 “CannaDews” for “Edible cannabis”; “XLeaf Labs” (with associated logos), “X Pen,” and

 “Ascended Labs” for “Extracted Cannabis oils, resins, waxes, shatter and terpenes”; and

 “Camino Real” (with associated logos) for “Cannabis and cannabis products.” Kaweske did not

 disclose to Morton or Sensoria that he had formed or begun operating JW Colorado or JW

 Ordway, which are in the cannabis business. JW Ordway was assisted in its filings with the State

 of Colorado by Tannenbaum. On information and belief from these facts, the “J” in “JW” stands

 for “John” Kaweske and the “W” stands for Welby Evangelista.

        82.     According to Peterson in 2019, XLeaf was intended to be a wholly owned

 subsidiary of Clover Top formed on June 19, 2017, and/or used as a dba of AJC for use as a

 merchant account, later becoming XLEAF Labs (a cannabis concentrate manufacturing/retailer).

        83.     On February 28, 2018, Kaweske bought a home in Colorado Springs for

 $525,000.00.

        84.     According to information on the Colorado Secretary of State’s website, Kaweske

 formed JW Trinidad on July 12, 2018, with Kaweske and Evangelista as members. Kaweske did

 not disclose to Clover Top shareholders such as Sensoria that he had formed or begun operating

 JW Trinidad. On information and belief based on the other facts set forth herein, JW Trinidad is

 a cannabis-related business.




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         85.   According to the Wyoming Secretary of State’s website, Evangelista formed

 North Star on August 3, 2018. Kaweske and Evangelista are directors, and Evangelista is

 President. Kaweske did not disclose to Clover Top shareholders such as Sensoria that he had

 formed or begun operating North Star, which is in the cannabis business. According to the

 Colorado Secretary of State’s website, Kaweske registered North Star to do business in Colorado

 as a foreign corporation on November 8, 2018, identifying Tannenbaum, Trost & Burk as its

 registered agent. On February 21, 2020, Kaweske filed a Periodic Report for North Star with the

 Colorado Secretary of State identifying Evangelista as North Star’s registered agent. Kaweske

 did not inform Clover Top shareholders such as Sensoria of his efforts in connection with North

 Star.

         86.   According to the Colorado Secretary of State’s website, on August 15, 2018,

 Kaweske filed a Statement of Change Changing the Registered Agent Information for Ordway

 Farms to himself. Then, on September 5, 2018, Kaweske filed a “Statement of Change to Add an

 Attachment” in which he replaced Clover Top with himself as the sole member of Ordway

 Farms. He did not disclose these actions to Clover Top’s shareholders such as Sensoria.

 According to Peterson in 2019, Kaweske allegedly sold securities related to Ordway Farms

 against Clover Top’s interest and without knowledge or approval from shareholders like

 Sensoria.

         87.   According to the United States Patent and Trademark Office search website, the

 TweedLeaf service mark was abandoned by TweedLeaf Delaware on September 10, 2018.

         88.   On or about November 3, 2018, without leadup or warning, Evangelista called

 and texted Morton multiple times via cell phone and made physical and financial threats against

 him, orally and by text, using outrageous and extreme language going beyond all bounds of



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 decency, including threatening to kill Morton and his family, accusing Morton of stealing his

 money, asserting Morton’s involvement in a “scam” against Evangelista, telling Morton that

 Sensoria and all shareholders in Clover Top were “f***ed,” threatening legal action without

 grounds, and making demands for payment of millions of dollars.

         89.    On January 10, 2019, North Star filed with the Securities and Exchange

 Commission an SEC Form D indicating it intended to offer for sale $7 million in securities in

 North Star. The filing identified both Kaweske and Evangelista as Executive Officers and

 Directors of North Star. Kaweske did not inform Clover Top shareholders such as Sensoria of

 this fact.

         90.    According to Peterson in 2019, North Star listed TweedLeaf, TweedLeaf

 Dispensaries, XLeaf Labs, and Ordway Farms on EquityNet.com as Products/Services in

 connection with its $7 securities offering, describing its business as follows: “Founded in 2016,

 North Star (originally Ordway Farms) started with one cultivation facility and one dispensary.

 Their expertise in cultivation, manufacturing, and retail delivers a consistent and superior

 cannabis experience to their patients and customers. Today North Star is in three states with over

 70,000 square feet of cultivation, 4 dispensaries and an extraction lab with the capacity to

 produce over 90,000 grams per month.”

         91.    On or about February 1, 2019, Clover Top became delinquent in its registration

 with the State of Colorado for failure to file a Periodic Report as required by law, a fact that

 Clover Top and its officers and directors did not disclose to shareholders such Sensoria.

         92.    As of March 1, 2019, Clover Top’s status with the Delaware Division of

 Corporations was void, which that division’s website

 (https://icis.corp.delaware.gov/ecorp/entitysearch/) explains is a status given to a corporation that



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 has failed to pay its annual franchise tax for a period of one year. Clover Top and its officers and

 directors did not disclose this to its shareholders.

         93.     The Delaware Division of Corporations website shows Clover Top as owing

 $108,566.68 in delinquent franchise taxes, with a last annual report filed in 2016. Clover Top

 and its officers and directors did not disclose this to Sensoria.

         94.     Clover Top has failed to hold shareholder meetings as required by its Bylaws.

         95.     Clover Top has failed to provide financial statements or annual business

 overviews as promised to Sensoria in its offering documents.

         96.     Sensoria’s repeated requests for information and financials to Clover Top and its

 officers and directors have been ignored or rejected.

         97.     Sensoria has not received tax documents from Clover Top related to its

 investment.

         98.     A separate entity with the same name as Clover Top, identified herein as Clover

 Top Colorado, was formed as a Colorado corporation before the initial investment offering to

 Sensoria, a fact that was not disclosed to Clover Top shareholders. Peterson filed Articles of

 Incorporation for Clover Top Colorado with the Colorado Secretary of State on November 9,

 2015. The corporation was authorized to issue 6,000,000 common shares. The address of the

 Clover Top Colorado was given as 5 Pine Road, Colorado Springs, Colorado 80906. Clover Top

 Colorado currently enjoys an active status with the State of Colorado. Peterson is Clover Top

 Colorado’s registered agent. According to the Colorado Secretary of State’s website, Peterson

 last updated Clover Top Colorado’s status by filing a Periodic Report on February 28, 2020,

 keeping Clover Top Colorado’s status active.




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        99.     In or about March 2019, a Canadian company, Pan Andean Minerals Ltd.,

 announced it had entered into an arm’s length binding letter of intent dated as of March 11, 2019

 (“LOI”) with North Star. It described North Star as a “fully integrated producer, processor and

 distributor of medicinal and adult use cannabis with operations in various states in the U.S.

 including Colorado, California and Nevada.” According to Pan Andean, the LOI outlined the

 proposed terms and conditions pursuant to which Pan Andean and North Star would effect a

 business combination that would result in a reverse takeover of the company by the security

 holders of North Star.

        100.    Based on Sensoria’s learning of potential additional investors in Clover Top

 identified in the foregoing paragraphs who were solicited, and including as well a Korean

 investment firm, made without information to or consent from the shareholders, Sensoria

 inquired repeatedly of Kaweske and Evangelista about the diluting effect of any such

 investments on the Clover Top shareholders’ capitalization. Kaweske and Evangelista evaded

 and would never respond substantively to Sensoria’s inquiries.

        101.    Clover Top and its officers and directors did not offer to Sensoria on a pro rata

 basis shares sold to others as provided by the Sensoria’s Subscription Agreement, effectively

 diluting Sensoria’s investment in Clover Top.

        102.    Sensoria repeatedly requested information regarding Clover Top’s capitalization

 from its officers and directors, but Clover Top and its officers and directors failed or refused to

 provide such information. Kaweske, Clover Top’s CFO, repeatedly put Morton off by telling

 him, “I’m just swamped” and “I need some help with the accounting.” Clover Top and its

 officers and directors never did provide adjusted capitalization tables.




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         103.   On information and belief, based on the facts pleaded herein, assets, holdings, and

 subsidiaries of Clover Top have been transferred away from Clover Top, diluting Sensoria’s

 investment, and rendering that investment, in the words of Kaweske, “no longer relevant.”

         104.   In or about February 2019, Kaweske told Morton that events and circumstances

 had rendered Sensoria’s investment in Clover Top “no longer relevant.” In response to questions

 from Morton about information related to Clover Top and to Sensoria’s investment in Clover

 Top, Kaweske told Morton, “Technically, I don’t have to give you anything because technically

 you don’t own anything.”

         105.   Sensoria has since undertaken an investigation to obtain what facts it could

 through its own efforts, many of which are now set forth herein, including those identified as not

 properly disclosed to shareholders of Clover Top.

         106.   Sensoria’s efforts to obtain a resolution with Kaweske about its ownership in

 Clover Top resulted in draft potential agreements being prepared and circulated by and between

 counsel for Kaweske and Sensoria, and other settlement proposals being explored. Further, the

 following entities were identified as affiliated with the defendants in such a capacity that a

 release was requested with respect to such entities: AJC, Durango, Sunlife, MMJ, TweedLeaf

 LLC, Ordway Farms, and North Star. These discussions did not lead to any agreement.

         107.   Sensoria has not received back any of its initial investment, let alone any return

 on that investment, nor any documentation accounting for the investment apart from share

 certificates for common stock.

         108.   Sensoria has received no official communication from Clover Top since at least

 2018.




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        109.    Clover Top has made varying representations at odds with each other to

 government officials and shareholders regarding its authorized and issued shares.

        110.    According to the Wyoming Secretary of State’s website, North Star filed a Profit

 Corporation Annual Report on August 6, 2019, identifying Kaweske and Evangelista as

 Directors and Evangelista as President.

        111.    According to the Colorado Secretary of State’s website, Kaweske formed

 Lifestream, on August 19, 2019, identifying the 1602 Property as Lifestream’s principal address.

 On August 31, 2019, Kaweske filed Articles of Amendment adding “dba TweedLeaf” to

 Lifestream’s name. On September 2, 2019, Lifestream filed a Statement of Correction Correcting

 the Entity Name, stating that it should be Lifestream Holdings LLC. Kaweske did not disclose

 these facts to Sensoria.

        112.    According to the United States Patent and Trademark Office trademark search

 website, on September 10, 2019, JW Colorado filed for a federal trademark and service mark

 registration for the “TWEEDLEAF” word mark in numerous classes, covering: “Dietary and

 nutritional supplements”; “Eye Glasses; Sunglasses; Batteries”; “Clothing”; “Lighters for

 smokers”; and “Retail store and on-line retail store services featuring clothing, dietary and

 nutritional supplements, eye glasses, sunglasses, electronic cigarettes, electronic cigarette liquid,

 lighters for smokers.”

        113.    On information and belief from the Colorado and Wyoming Secretary of State

 filings identified herein, and from the TweedLeaf and North Star websites discussed next,

 Kaweske is now controlling the TweedLeaf brand and operations apart from Clover Top and

 under his separate entities. The website www.tweedleaf.net shows operations are now up to six

 locations, with two Medical Only stores in Colorado Springs, two Adult-Use Only stores in



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 Denver and Trinidad, and two different Medical+Rec stores in Denver and Trinidad. The two

 Medical Only stores include the 1602 Property and the location given to the Colorado Secretary

 of State as the principal address for TweedLeaf. Both Lifestream and North Star have

 connections to this website. The website says that TweedLeaf was established in May 2016.

        114.    A website associated with North Star, https://www.northstarholdings.co, identifies

 “The North Star Brands” to include TweedLeaf. It further states: “Since 2016 North Star

 Holdings’ flagship brand, TweedLeaf, has been a pioneer in the Medical and Adult-Use

 Colorado cannabis market.” Despite this representation, North Star was not formed until 2018,

 though Clover Top’s brand TweedLeaf has been in use since at least 2016. North Star’s website

 lists the addresses of its medical dispensary to be the 5495 Property and the 1602 Property,

 identifying them respectively as “TweedLeaf Academy” and “TweedLeaf Colorado Ave.” It also

 lists under its “Adult Use Dispensar[ies]” addresses in Denver and Trinidad, Colorado, that

 appear as addresses on www.tweedleaf.net. The website also provides a link to

 www.tweedleaf.net.

        115.    Kaweske on the one hand and Peterson and his wife on the other hand have

 alleged extensive wrongdoing between themselves in at least three lawsuits, and otherwise,

 ostensibly including forgery, fraud, fraudulent and voidable asset transfers, lockout from

 business operations, and other illegal conduct, facts that were not properly disclosed to the

 shareholders of Clover Top. The cases are styled Sunlife AG LLC v. Hiatt, Case No.

 2018CV30019, in the District Court for Crowley County, Colorado; Sunlife AG LLC v. Peterson,

 Case No. 2019CV30000, in the District Court for Crowley County, Colorado; and Peterson v.

 Kaweske, Case No. 2019CV30229, in the District Court for El Paso County, Colorado. In these

 suits, Kaweske alleges that he and his entities own assets that he represented to Sensoria would



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 be or were owned by Clover Top exclusively, and Peterson alleges Kaweske locked him out of

 the Clover Top business.

        116.    On October 3, 2019, Sensoria sent a demand letter through retained counsel with

 respect to its investment and related issues to Kaweske, Peterson, Evangelista, and Clover Top,

 among others. Sensoria tendered therein the return of its shares in Clover Top. To date, Sensoria

 has received no substantive relief in connection with its demand. In response to this letter,

 defendant Evangelista threatened to sue the plaintiffs if they pursued their claims as outlined. He

 also said he had “lost 10 TIMES more” on Clover Top than Sensoria had.

        117.    To the extent necessary, the claims set forth herein are alleged alternatively,

 hypothetically, and/or inconsistently as provided by Fed. R. Civ. P. 8(d).

        118.    The following entities are sometimes collectively referred to herein as the

 “Kaweske Entities”: AJC, Sunlife, MMJ, TweedLeaf LLC, Lifestream, Ordway Farms, North

 Star, JW Colorado, JW Ordway, and JW Trinidad.

        119.    According to Peterson in 2019, Clover Top Holdings’ intended assets and

 subsidiaries before December 2017 included at least TweedLeaf Delaware, Durango, AJC, MMJ,

 Sunlife, Ordway Farms, and the XLeaf and XLeaf Labs names, and their holdings and assets.

                            DERIVATIVE CLAIM PREREQUISITES

        120.    Sensoria was a shareholder of Clover Top at the time of the transactions

 complained of herein.

        121.    This lawsuit is not a collusive action to confer jurisdiction that the Court would

 otherwise lack.

        122.    The reasons for Sensoria not undertaking the effort to obtain the action desired

 from the directors include the following:



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                a.     Clover Top is not a functioning entity.

                b.     Sensoria is unaware of who Clover Top’s current directors purport to be.

                c.     The last known directors of which Sensoria is aware include Kaweske,

 Peterson, and Peterson’s wife. They are not functioning as directors of Clover Top. Moreover,

 they are in lawsuits among themselves in which they allege wrongdoing against each other.

                d.     Kaweske and Peterson are defendants in this case, alleged to have acted in

 violation of their fiduciary duties and corporate governance and other obligations to Clover Top

 and its shareholders. They cannot reasonably be expected to file a lawsuit on behalf of Clover

 Top against themselves, and demand to do so would be futile.

                e.     Sensoria sent notice and a demand through counsel to Kaweske and

 Peterson, among others, on October 3, 2019, seeking relief for the loss of its investment in

 Clover Top. Despite Sensoria’s demand, neither Kaweske nor Peterson provided any substantive

 relief.

                f.     Sensoria has been able to ferret out facts about Kaweske, the Kaweske

 Entities, Peterson, Clover Top, Evangelista, and the other defendants involved only by

 undertaking its own investigation over time and retaining legal counsel. This has been a

 frustrating, exhaustive, and expensive ordeal for Sensoria. The allegations in this complaint

 include numerous items that these defendants did not disclose to Sensoria.

                g.     The last Sensoria was aware, Kaweske, Peterson, and Peterson’s wife

 were in control of the finances, operations, assets, and claims of Clover Top.

                h.     Kaweske and Peterson have engaged in conduct hostile to Sensoria and

 Clover Top and favorable to themselves as alleged in this complaint. Both have taken assets that




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 they represented belong and/or that do or should belong to Clover Top and exploited them for

 their own benefit.

                i.      Sensoria’s principal does not trust Kaweske or Peterson, and the

 relationship between these individuals is irreparably broken. The parties are now communicating

 through counsel.

                j.      Kaweske has previously violated federal securities laws, a fact he never

 disclosed to Sensoria and one he tried affirmatively to hide. Kaweske appears to be engaged in a

 pattern of unlawful activity similar to what he previously engaged in that resulted in his being

 barred from the securities industry.

                k.      Kaweske and Peterson have engaged in the conduct identified herein

 without notice to Sensoria, in contravention of its position as a minority shareholder,

 highlighting these individuals’ intent to take steps that are in their own best interests as opposed

 to those of Clover Top.

                l.      Kaweske and Peterson have a material interest in the subject of any

 demand in that they would be the target of the demand. As directors of Clover Top, Kaweske and

 Peterson constitute the majority of the board of directors as Sensoria last understood it to be

 constituted. Sensoria does not have representation on the board of directors that would allow it to

 overcome that majority.

                m.      Kaweske and Peterson would be materially affected to their detriment by

 action that would be demanded of them, in a manner not shared by Clover Top or Sensoria.

                n.      Brian Tannenbaum and Tannenbaum & Trost are the last known corporate

 counsel for Clover Top. However, on information and belief, they are actively assisting Kaweske

 in forming and running cannabis-related companies that are outside the Clover Top umbrella,



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 contrary to the interests of Clover Top. They cannot reasonably be expected to assist Clover Top

 in asserting claims against themselves.

                o.      To the extent the question of demand futility is bound to issues of business

 judgment and the standards of that doctrine’s applicability, the case for a derivative action has

 been made here. Kaweske and Peterson as directors made conscious business decisions in breach

 of their fiduciary duties such that demand would be futile. Any threshold presumptions of

 director disinterest or independence are rebutted by the well-pleaded facts of this complaint.

 Furthermore, this complaint pleads particularized facts sufficient to create a reasonable doubt

 that the challenged transactions were the product of a valid exercise of business judgment.

 Kaweske and Peterson as directors had divided loyalties and stood to receive personal financial

 benefits from the transactions identified herein that were not equally shared by the shareholders,

 and they represent a majority of the board of directors as last constituted. Furthermore, there is

 reason to doubt that their actions were taken honestly and in good faith or reason to doubt that

 either Kaweske or Peterson adequately informed all other members of the board in making their

 individual decisions. Furthermore, this complaint alleges particularized facts establishing a

 reason to doubt that the board of directors could have properly exercised its independent and

 disinterested business judgment in responding to a demand. For instance, Kaweske and Peterson

 would face a substantial likelihood of personal liability by complying with Sensoria’s demand to

 pursue litigation. They have, furthermore, acted with scienter, i.e., they had actual or constructive

 knowledge that their conduct was legally improper.

                p.      Sensoria fairly and adequately represents the interests of other minority

 shareholders similarly situated in enforcing the rights of Clover Top against the defendants.

 Sensoria is aware of 12 other minority shareholders who have likewise lost investments in



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 Clover Top estimated to total approximately $450,000.00 based on the conduct and information

 alleged herein. Recovery on the derivative claims for the benefit of Clover Top will thus benefit

 all other minority shareholders who are similarly situated.

                q.      All other allegations in this complaint are incorporated herein by reference

 in support of the basis for the derivative claims asserted herein.

                                 FIRST CAUSE OF ACTION
        (Declaratory, Injunctive, and Other Equitable Relief Including an Accounting)
                  (Sensoria Directly and Derivatively against All Defendants)

        123.    All other paragraphs are incorporated herein by reference.

        124.    A case or controversy has arisen between the parties.

        125.    Sensoria, directly on its own behalf and derivatively on Clover Top’s behalf,

 seeks a declaratory judgment from this Court pursuant to 28 U.S.C. §§ 2201-2202 with respect to

 the parties’ respective positions. Specifically, Sensoria seeks a declaration determining

 Sensoria’s interest in Clover Top, its actual value, and its value but for the defendants’ wrongful

 conduct; Sensoria’s actual damages; a determination that Sensoria is entitled to the return of its

 investment in Clover Top with interest and with any damages suffered and any other attendant

 relief available at law or in equity; a determination of Clover Top’s assets; an order granting title

 to Clover Top in such assets of the defendants as are determined to be Clover Top’s; a

 determination that any defendant holding or benefitting from assets belonging to Sensoria or

 Clover Top shall hold the assets and their benefits in a constructive trust for the benefit of

 Sensoria or Clover Top respectively; that Sensoria and Clover Top are entitled to damages for

 their losses; that Sensoria and Clover Top are entitled to recover on their claims as set forth

 herein; and such other determinations as are required to be made in the course of this suit.




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          126.   Sensoria further seeks a declaratory judgment construing any agreements,

 documents, or relevant law that may be bound up with or related to the principal determinations

 to be made herein and the other allegations set forth herein.

          127.   Defendants’ actions are causing Sensoria and Clover Top irreparable harm.

          128.   The harm to Sensoria and Clover Top caused by defendants’ actions on balance

 outweighs the harm that would result to defendants if an order enjoining such actions were to

 issue.

          129.   Granting injunctive relief in this case is consonant with the public interest.

          130.   Sensoria is likely to prevail on the merits of this case, or the case presents serious

 issues on the merits which should be the subject of further litigation.

          131.   Sensoria has no adequate remedy at law that would provide complete relief.

          132.   Injunctive relief under Rule 65 of the Federal Rules of Civil Procedure and

 otherwise is necessary to prevent irreparable harm. If necessary, the Court should also order a

 receivership and/or make other orders necessary and proper in equity or by virtue of statutory

 authority to preserve or alter the status quo and/or prevent irreparable harm.

          133.   Because of the defendants’ conduct, Sensoria is unable to determine how much, if

 any, money is due to it from defendants in excess of the $225,000.00 plus interest it invested in

 Clover Top. Accordingly, in addition to all other relief, Sensoria is entitled to an accounting of

 all relevant entities, to include the cost thereof.

                                  SECOND CAUSE OF ACTION
          (Violation of Securities Exchange Act of 1934, §§ 10(b) & 20(a) & Rule 10b-5)
                   (Sensoria Directly against Kaweske, Peterson, and Clover Top)

          134.   All other paragraphs are incorporated herein by reference.




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        135.    Defendants Kaweske, Peterson, and Clover Top directly or indirectly used or

 employed, in connection with the purchase and sale of Sensoria’s shares in Clover Top, a

 manipulative or deceptive device or contrivance in contravention of the rules and regulations

 prescribed by the Securities and Exchange Commission (“SEC”), in violation of Rule 10(b) of

 the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b), and Rule 10b-5, 17 C.F.R. § 240.10b-5.

        136.    Based on the conduct described herein, Kaweske, Peterson, and Clover Top

 employed a device, scheme, or artifice to defraud; made an untrue statement of a material fact or

 omitted to state a material fact necessary in order to make the statements made, in the light of the

 circumstances under which they were made, not misleading; and engaged in any act, practice, or

 course of business which operates or would operate as a fraud or deceit upon Sensoria, in

 connection with the purchase and sale of Sensoria’s shares in Clover Top.

        137.    Based on the conduct described herein, Kaweske, Peterson, and Clover Top made

 their misstatements and omissions of material fact with scienter.

        138.    As described herein, Kaweske’s, Peterson’s, and Clover Top’s misstatements and

 omissions were misleading.

        139.    Kaweske’s misstatements or omissions were material in that Sensoria would not

 have invested in Clover Top had the true facts been disclosed.

        140.    Kaweske and Peterson also directly or indirectly controlled Clover Top, which is

 liable under the Securities Exchange Act and regulations as described herein, and cannot

 otherwise sustain their burden of showing they acted in good faith and did not directly or

 indirectly induce the acts constituting the violation or cause of action, and are therefore liable

 jointly and severally with and to the same extent as Clover Top under 15 U.S.C. § 78t(a).




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         141.    Sensoria has suffered damages as a result of Kaweske’s, Peterson’s, and Clover

 Top’s conduct, and these defendants’ fraudulent misrepresentations and omissions caused them

 loss, in an amount to be determined at trial in excess of $225,000.00 plus interest.

         142.    Alternatively, Sensoria is entitled to a return of its investment plus interest and all

 other legal and equitable relief available to it as a result of these defendants’ securities violations.

                                  THIRD CAUSE OF ACTION
                (Violation of Colorado Securities Act, C.R.S. §§ 11-51-501 & -604)
                  (Sensoria Directly against Kaweske, Peterson, and Clover Top)

         143.    All other paragraphs are incorporated herein by reference.

         144.    Based on the conduct described herein, Kaweske, Peterson, and Clover Top, in

 connection with the offer, sale, and purchase of Sensoria’s shares in Clover Top, directly or

 indirectly employed a device, scheme, or artifice to defraud; made untrue statements of material

 fact or omitted to state material facts necessary in order to make the statements made, in the light

 of the circumstances under which they were made, not misleading; and engaged in an act,

 practice, or course of business which operates or would operate as a fraud or deceit upon

 Sensoria, in violation of C.R.S. § 11-51-501(1).

         145.    Based on the conduct described herein, Kaweske, Peterson, and Clover Top acted

 recklessly, knowingly, or with an intent to defraud in selling Sensoria shares in Clover Top in

 violation of C.R.S. § 11-51-501(1), making them liable to Sensoria under C.R.S. § 11-51-604(3).

         146.    Pursuant to C.R.S. § 11-51-604(3), Kaweske, Peterson, and Clover Top are liable

 to Sensoria for such legal or equitable relief that the Court deems appropriate, including

 rescission, actual damages, interest at the Colorado statutory rate, costs, and reasonable attorney

 fees.




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        147.    Kaweske and Peterson directly or indirectly controlled Clover Top, which is liable

 under C.R.S. § 11-51-604(3), and cannot otherwise sustain the burden of proof that they acted in

 good faith and did not, directly or indirectly, induce the act or acts constituting the violation or

 cause of action, making them liable jointly and severally with and to the same extent as Clover

 Top under C.R.S. § 11-51-604(5)(b).

        148.    Based on the conduct described herein, Kaweske, Peterson, and Clover Top sold

 Sensoria shares in Clover Top in violation of section 11-51-501(1)(b) (Sensoria not knowing of

 the untruths or omissions), and cannot otherwise sustain their burden of proof that Sensoria did

 not know, and in the exercise of reasonable care could not have known, of the untruths or

 omissions, making them liable to Sensoria under C.R.S. § 11-51-604(4).

        149.    Pursuant to C.R.S. § 11-51-604(4), Kaweske, Peterson, and Clover Top are liable

 to Sensoria for the consideration paid for its shares in Clover Top, together with interest at the

 Colorado statutory rate from the date of payment, costs, and reasonable attorney fees, upon the

 tender of the security, previously and hereby made.

                               FOURTH CAUSE OF ACTION
            (Violation of Utah Uniform Securities Act, Utah Code §§ 61-1-1 & -22)
                 (Sensoria Directly against Kaweske, Peterson, and Clover Top)

        150.    All other paragraphs are incorporated herein by reference.

        151.    Based on the conduct described herein, Kaweske, Peterson, and Clover Top, in

 connection with the offer, sale, and purchase of Sensoria’s shares in Clover Top, employed a

 device, scheme, or artifice to defraud; made an untrue statement of a material fact or omitted to

 state a material fact necessary in order to make the statements made, in the light of the

 circumstances under which they were made, not misleading; and/or engaged in any act, practice,

 or course of business which operates or would operate as a fraud or deceit upon Sensoria, in



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 connection with the purchase and sale of Sensoria’s shares in Clover Top, in violation of Utah

 Code § 61-1-1.

        152.    Pursuant to Utah Code § 61-1-22(1)(a)(ii) and (b), Kaweske, Peterson, and Clover

 Top are liable to Sensoria for the consideration paid for its shares in Clover Top, together with

 interest at 12% per year from the date of payment, costs, and reasonable attorney fees, upon the

 tender of its shares in Clover Top, previously and hereby made. Pursuant to Utah Code § 61-1-

 22(2)(a), and based on the conduct described herein, the Court should award Sensoria an amount

 equal to three times the consideration Sensoria paid for its shares in Clover Top, together with

 interest, costs, and attorney fees, because these defendants’ conduct was reckless or intentional.

        153.    Kaweske and Peterson directly or indirectly controlled Clover Top, which is liable

 under Utah Code § 61-1-22(1), as officers and directors of Clover Top, and cannot otherwise

 sustain their burden of proof that they did not know, and in exercise of reasonable care could not

 have known, of the existence of the facts by reason of which the liability is alleged to exist.

 Pursuant to Utah Code § 61-1-22(4), Kaweske and Peterson are therefore liable to Sensoria

 jointly and severally with and to the same extent as Clover Top, with rights of contribution

 among those so liable.

                                 FIFTH CAUSE OF ACTION
                                   (Breach of Fiduciary Duty)
               (Sensoria Directly and Derivatively against Kaweske and Peterson)

        154.    All other paragraphs are incorporated herein by reference.

        155.    Defendants Kaweske and Peterson as officers, directors, and controlling

 shareholders of Clover Top owed fiduciary duties to Sensoria as a shareholder in Clover Top.




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        156.    By their conduct described herein, Kaweske and Peterson breached their fiduciary

 duties of loyalty, good faith, and care, and their acts and omissions constituted negligence,

 mismanagement, corporate waste, and/or actionable inattention.

        157.    These breaches of fiduciary duty caused actual, proximate harm to Sensoria.

        158.    Sensoria was damaged as a result of these breaches of fiduciary duty in an amount

 to be proven at trial, but no less than $225,000.00 principal amount.

        159.    These defendants’ acts and omissions in this case constitute a wrong done to the

 person or to personal or real property of Sensoria, and the injury complained of is attended by

 circumstances of fraud, malice, or willful and wanton conduct, in that such conduct was

 purposefully committed and the defendants must have realized such conduct was dangerous,

 done heedlessly and recklessly, without regard to consequences, or of the rights and safety of

 others, particularly Sensoria. Sensoria therefore reserves its right to add a claim for exemplary

 damages if permitted to do so and appropriate under C.R.S. § 13-21-102.

                                  SIXTH CAUSE OF ACTION
                                      (Breach of Contract)
                              (Sensoria Directly against Clover Top)

        160.    All other paragraphs are incorporated herein by reference.

        161.    Based on the conduct described herein, Sensoria entered into one or more valid

 contracts with Clover Top for the purchase and sale of stock in Clover Top, and Sensoria agreed

 to pay money to Clover Top in exchange for the consideration identified herein.

        162.    Sensoria fully performed its contract obligations.

        163.    Clover Top breached its contract obligations by its actions as set forth herein.

        164.    As a result of Clover Top’s material breach of contract, Sensoria has been

 damaged in an amount to be proven at trial, but no less than $225,000.00 principal amount.



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                               SEVENTH CAUSE OF ACTION
                     (Fraudulent Misrepresentations and Nondisclosures)
     (Sensoria Directly against Kaweske, Peterson, and Clover Top and Derivatively against
                                    Kaweske and Peterson)

         165.     All other paragraphs are incorporated herein by reference.

         166.     By their conduct described herein, defendants Kaweske, Peterson, and Clover Top

 made false representations and nondisclosures.

         167.     These defendants made knowing misrepresentations of material fact. Sensoria and

 Clover Top both relied on the misrepresentations and nondisclosures of Kaweske and Peterson,

 and Sensoria also relied on the misrepresentations and nondisclosures of Clover; and each had

 the right or justification to rely thereon. Sensoria and Clover Top were damaged as a result of

 this reliance.

         168.     These defendants also failed to disclose past or present facts that they had a duty

 to disclose, with intent to induce Sensoria and Clover Top to take a course of action they would

 not otherwise have taken, and Sensoria and Clover Top justifiably relied on those omissions.

 Sensoria and Clover Top were damaged as a result of this reliance.

         169.     These defendants’ acts and omissions in this case constitute a wrong done to the

 person or to personal or real property of Sensoria and Clover Top, and the injury complained of

 is attended by circumstances of fraud, malice, or willful and wanton conduct, in that such

 conduct was purposefully committed and the defendants must have realized such conduct was

 dangerous, done heedlessly and recklessly, without regard to consequences, or of the rights and

 safety of others, particularly Sensoria and Clover Top. Sensoria directly and derivatively

 therefore reserves its right to add a claim for exemplary damages if permitted to do so and

 appropriate under C.R.S. § 13-21-102.




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                                EIGHTH CAUSE OF ACTION
                                 (Negligent Misrepresentation)
     (Sensoria Directly against Kaweske, Peterson, and Clover Top and Derivatively against
                                    Kaweske and Peterson)

         170.    All other paragraphs are incorporated herein by reference.

         171.    By their conduct described herein, defendants Kaweske, Peterson, and Clover

 Top, in the course of their business, profession, or employment, made misrepresentations of

 material fact, without reasonable care, for the guidance of Sensoria in its business transactions,

 with knowledge that their representations would be relied upon by Sensoria, and Sensoria

 justifiably relied on the misrepresentations to its detriment.

         172.    By their conduct described herein, defendants Kaweske and Peterson, in the

 course of their business, profession, or employment, made misrepresentations of material fact,

 without reasonable care, for the guidance of Clover Top in its business transactions, with

 knowledge that their representations would be relied upon by Sensoria, and Sensoria justifiably

 relied on the misrepresentations to its detriment.

         173.    Sensoria and Clover Top, respectively, have been damaged thereby in an amount

 to be proven at trial.

                                  NINTH CAUSE OF ACTION
                                       (Corporate Waste)
                (Sensoria Directly and Derivatively against Kaweske and Peterson)

         174.    All other paragraphs are incorporated herein by reference.

         175.    By their conduct described herein, Kaweske and Peterson as officers and directors

 engaged in irrational transactions that were so one-sided that no business person of ordinary,

 sound judgment could conclude that Clover Top received adequate consideration. Such conduct

 constituted both procedural and substantive due care violations.




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             176.   Sensoria and Clover Top were damaged as a result of this corporate waste in an

 amount to be proven at trial.

                                    TENTH CAUSE OF ACTION
                         (Breach of Fiduciary Duty and Legal Malpractice)
                (Sensoria Derivatively against Tannenbaum and Tannenbaum & Trost)

             177.   All other paragraphs are incorporated herein by reference.

             178.   Defendants Tannenbaum and Tannenbaum & Trost as legal counsel for Clover

 Top owed fiduciary duties and duties of care to Clover Top.

             179.   By their conduct identified herein, Tannenbaum and Tannenbaum & Trost

 breached those duties owed to Clover Top.

             180.   These breaches of duty caused actual, proximate harm to Clover Top.

             181.   Clover Top was damaged as a result of these breaches in an amount to be proven

 at trial.

                             ELEVENTH CAUSE OF ACTION
                                        (Conversion)
 (Sensoria Derivatively against Kaweske, the Kaweske Entities, Durango, Peterson, Clover Top
                                  Colorado, and Does 1-100)

             182.   All other paragraphs are incorporated herein by reference.

             183.   By their conduct described herein, defendants Kaweske, the Kaweske Entities,

 Durango, Peterson, Clover Top Colorado, and Does 1-100 took dominion, ownership, and

 control of Clover Top’s assets when they were not authorized to do so, causing damage to Clover

 Top in an amount to be proven at trial.

             184.   These defendants’ acts and omissions in this case constitute a wrong done to the

 person or to personal or real property of Clover Top, and the injury complained of is attended by

 circumstances of fraud, malice, or willful and wanton conduct, in that such conduct was

 purposefully committed and the defendants must have realized such conduct was dangerous,

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 done heedlessly and recklessly, without regard to consequences, or of the rights and safety of

 others, particularly Clover Top. Sensoria therefore reserves its right to add a claim for exemplary

 damages if permitted to do so and appropriate under C.R.S. § 13-21-102.

                              TWELFTH CAUSE OF ACTION
                                         (Civil Theft)
 (Sensoria Derivatively Against Kaweske, the Kaweske Entities, Durango, Peterson, Clover Top
                                  Colorado, and Does 1-100)

         185.    All other paragraphs are incorporated herein by reference.

         186.    Defendants Kaweske, the Kaweske Entities, Durango, Peterson, Clover Top

 Colorado, and Does 1-100 obtained Clover Top’s assets by theft, robbery, or burglary and/or by

 subsequently coming into possession of the same.

         187.    Pursuant to C.R.S. § 18-4-405, all such assets should be restored to Clover Top,

 and no sale, whether in good faith on the part of the purchaser or not, has divested Clover Top of

 its right to such property.

         188.    Pursuant to C.R.S. § 18-4-405, Sensoria is also entitled to recover three times the

 amount of the actual damages sustained by Clover Top, and may also recover costs of the action

 and reasonable attorney fees as allowed by this section, other than against a good-faith purchaser

 or good-faith holder of the property.

                            THIRTEENTH CAUSE OF ACTION
                                     (Fraudulent Transfer)
   (Sensoria Directly against Clover Top, Kaweske, the Kaweske Entities, Durango, Peterson,
     Clover Top Colorado, and Does 1-100, and Derivatively against Kaweske, the Kaweske
              Entities, Durango, Peterson, Clover Top Colorado, and Does 1-100)

         189.    All other paragraphs are incorporated herein by reference.

         190.    Based on the conduct described herein, Sensoria as a “creditor” had and has

 “claims” against Clover Top, Kaweske, the Kaweske Entities, Durango, Peterson, Clover Top




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 Colorado, and Does 1-100 as “debtors,” as those terms are defined in the Colorado Uniform

 Fraudulent Transfer Act, C.R.S. § 38-8-101 et seq. (“CUFTA”).

        191.    Based on the conduct described herein, Clover Top as a “creditor” had and has

 “claims” against Kaweske, the Kaweske Entities, Peterson, Clover Top Colorado, and Does 1-

 100 as “debtors,” as those terms are defined in the Colorado Uniform Fraudulent Transfer Act,

 C.R.S. § 38-8-101 et seq. (“CUFTA”).

        192.    Based on the conduct described herein, these defendants effectuated one or more

 transfers of Clover Top’s property among themselves.

        193.    Based on the conduct described herein, these defendants made the transfers with

 actual intent to defraud Sensoria and Clover Top in violation of CUFTA, C.R.S. § 38-8-

 105(1)(a).

        194.    Based on the conduct described herein, these defendants also made the transfers

 without Clover Top receiving a reasonably equivalent value in exchange for the transfers or

 obligations, and Clover Top was engaged or was about to engage in a business or a transaction

 for which its remaining assets were unreasonably small in relation to the business or transactions

 in which Clover Top engaged, or intended to incur, or believed or reasonably should have

 believed that it would incur, debts beyond its ability to pay as they became due, in violation of

 CUFTA, C.R.S. § 38-8-105(1)(b).

        195.    Based on the conduct described herein, these defendants also made the transfers

 without receiving a reasonably equivalent value in exchange for the transfers at a time Clover

 Top was insolvent or became insolvent, in violation of CUFTA, C.R.S. § 38-8-106(1).

        196.    Sensoria, acting directly on its own behalf and derivatively on behalf of Clover

 Top, is entitled to an avoidance of the transfers to the extent necessary to satisfy its claims; to an



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 attachment or other provisional remedy against these defendants’ property; to an injunction

 against further disposition of property by these defendants, or both; to a judgment against these

 defendants as provided by CUFTA; and/or to such other remedies as may be available under

 CUFTA, C.R.S. §§ 38-8-101 et seq., including but not limited to C.R.S. §§ 38-8-108 and -109.

                           FOURTEENTH CAUSE OF ACTION
                                      (Civil Conspiracy)
     (Sensoria Directly and Derivatively against Kaweske, the Kaweske Entities, Durango,
    Peterson, Clover Top Colorado, Clover Top, Evangelista, Tannenbaum, Tannenbaum &
                                    Trost, and Does 1-100)

        197.    All other paragraphs are incorporated herein by reference.

        198.    Defendants Kaweske, the Kaweske Entities, Durango, Peterson, Clover Top

 Colorado, Clover Top, Evangelista, Tannenbaum, Tannenbaum & Trost, and Does 1-100

 constitute two or more legal persons.

        199.    These defendants intended to accomplish an object, namely to deprive Clover Top

 of assets that rightfully belong to Clover Top, and to deprive Clover Top’s shareholders of their

 value in Clover Top.

        200.    Based on the conduct described herein, two or more of these defendants had a

 meeting of the minds on the object or course of action to be accomplished.

        201.    Based on the conduct described herein, two or more of these defendants engaged

 in one or more unlawful overt acts.

        202.    As a result of these defendants’ conduct, Sensoria and Clover Top have suffered

 damages in an amount to be proven at trial.

        203.    These defendants’ acts and omissions in this case constitute a wrong done to the

 person or to personal or real property of Sensoria and Clover Top, and the injury complained of

 is attended by circumstances of fraud, malice, or willful and wanton conduct, in that such



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 conduct was purposefully committed and the defendants must have realized such conduct was

 dangerous, done heedlessly and recklessly, without regard to consequences, or of the rights and

 safety of others, particularly Sensoria and Clover Top. Sensoria therefore reserves its right to add

 a claim for exemplary damages if permitted to do so and appropriate under C.R.S. § 13-21-102.

                              FIFTEENTH CAUSE OF ACTION
                           (Intentional Interference with Contract)
      (Sensoria Directly and Derivatively against Kaweske, the Kaweske Entities, Durango,
   Peterson, Clover Top Colorado, Evangelista, Tannenbaum, and Tannenbaum & Trost, and
                                           Does 1-100)

         204.   All other paragraphs are incorporated herein by reference.

         205.   Defendants Kaweske, the Kaweske Entities, Durango, Peterson, Clover Top

 Colorado, Evangelista, Tannenbaum, and Tannenbaum & Trost were aware of the contracts

 between Clover Top and Sensoria.

         206.   These defendants intended that Clover Top breach the contract between Clover

 Top and Sensoria.

         207.   By their conduct described herein, these defendants induced Clover Top to breach

 or made it impossible for Clover Top to perform its contracts with Sensoria.

         208.   By their conduct described herein, these defendants acted improperly in causing

 the result.

         209.   These defendants’ acts and omissions in this case constitute a wrong done to the

 person or to personal or real property of Sensoria and Clover Top, and the injury complained of

 is attended by circumstances of fraud, malice, or willful and wanton conduct, in that such

 conduct was purposefully committed and the defendants must have realized such conduct was

 dangerous, done heedlessly and recklessly, without regard to consequences, or of the rights and




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 safety of others, particularly Sensoria and Clover Top. Sensoria therefore reserves its right to add

 a claim for exemplary damages if permitted to do so and appropriate under C.R.S. § 13-21-102.

                             SIXTEENTH CAUSE OF ACTION
                       (Aiding and Abetting Breach of Fiduciary Duty)
    (Sensoria Directly and Derivatively against The Kaweske Entities, Durango, Clover Top
        Colorado, Evangelista, Tannenbaum, Tannenbaum & Trost, and Does 1-100)

        210.    All other paragraphs are incorporated herein by reference.

        211.    By their conduct described herein, Kaweske and Peterson breached their fiduciary

 duties to Sensoria and Clover Top.

        212.    By their conduct described herein, the Kaweske Entities, Durango, Clover Top

 Colorado, Evangelista, Tannenbaum, and Tannenbaum & Trost, knowingly participated in

 Kaweske’s and Peterson’s breaches.

        213.    Sensoria and Clover Top suffered damages as a result of these defendants’

 conduct, in an amount to be proven at trial.

                            SEVENTEENTH CAUSE OF ACTION
                           (Unjust Enrichment/Constructive Trust)
                   (Sensoria Directly and Derivatively against All Defendants)

        214.    All other paragraphs are incorporated herein by reference.

        215.    By their conduct described herein, all defendants received a benefit at the expense

 of Sensoria and Clover Top – Clover Top at the expense of Sensoria, and all other defendants at

 the expense of Clover Top – and it would be unjust for these defendants to retain the benefit

 without commensurate compensation.

        216.    All defendants are liable in restitution to Sensoria, directly and derivatively, in an

 amount to be proven at trial.

        217.    In addition to all other relief granted, the Court should impose a constructive trust

 upon all defendants as a remedy for unjust enrichment.

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                           EIGHTEENTH CAUSE OF ACTION
               (Outrageous Conduct/Intentional Infliction of Emotional Distress)
                               (Morton against Evangelista)

        218.    All other paragraphs are incorporated herein by reference.

        219.    By his conduct described herein, defendant Evangelista, by conduct so outrageous

 in character and so extreme in degree as to go beyond all possible bounds of decency and to be

 regarded as atrocious and utterly intolerable in a civilized community, intentionally caused

 Morton severe emotional distress.

        220.    Evangelista’s conduct toward Morton was outrageous and intolerable in that it

 offends generally accepted standards of decency and morality.

        221.    Evangelista engaged in such conduct with the purpose of inflicting emotional

 distress or where any reasonable person would have known that such would result.

        222.    As a proximate cause of Evangelista’s conduct, plaintiff Morton was damaged in

 an amount to be proven at trial.

        223.    Evangelista’s acts constitute a wrong done to the person or to personal or real

 property of Morton, and the injury complained of is attended by circumstances of fraud, malice,

 or willful and wanton conduct, in that such conduct was purposefully committed and this

 defendant must have realized such conduct was dangerous, done heedlessly and recklessly,

 without regard to consequences, or of the rights and safety of others, particularly this plaintiff.

 Morton therefore reserves its right to add a claim for exemplary damages if permitted to do so

 and appropriate under C.R.S. § 13-21-102.

                            NINETEENTH CAUSE OF ACTION
                      (Lanham Act Violations, 15 U.S.C. §§ 1051 et seq.)
 (Sensoria Derivatively against Kaweske, the Kaweske Entities, Durango, Peterson, and Clover
                                       Top Colorado)

        224.    All other paragraphs are incorporated herein by reference.

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        225.    By their conduct described herein, defendants Kaweske, the Kaweske Entities,

 Durango, Peterson, and Clover Top Colorado have, in connection with their goods and services,

 used in commerce words, terms, names, symbols, devices, or a combination thereof, or a false

 designation of origin, or a false or misleading description of fact, or false or misleading

 representation of fact, which is likely to cause confusion, or to cause mistake, or to deceive as to

 the affiliation, connection, or association of these defendants with Clover Top and its TweedLeaf

 brand and mark, and other cannabis-related words, names, products, brands, marks, symbols, and

 the like, or as to the origin, sponsorship, or approval of their goods, services, or commercial

 activities by Clover Top; and in commercial advertising or promotion, have misrepresented the

 nature, characteristics, or qualities of goods, services, or commercial activities of themselves and

 Clover Top, in violation of 15 U.S.C. § 1125, such that Sensoria believes that Clover Top is or is

 likely to be damaged by these defendants’ acts.

        226.    Sensoria is entitled to relief under the Lanham Act, 15 U.S.C. §§ 1051 et seq.,

 including but not necessarily limited to Clover Top’s damages, these defendants’ profits, costs of

 action, and injunctive relief under §§ 1114 to 1125.

                                          JURY DEMAND

        Demand is hereby made for a trial by jury on all claims triable to a jury.

                                          PRAYER FOR RELIEF

        WHEREFORE, Sensoria prays for judgment in their favor and against defendants, jointly

 and/or severally as the facts may appear, and as set forth above, as follows:

        1.      Compensatory damages in an amount to be determined at trial, an accounting as

 necessary to determine the same, and imposition of a constructive trust against the defendants

 identified above in connection with the claims advanced herein.



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         2.       Alternatively, rescission of Sensoria’s purchase of shares in Clover Top and

 return of its investment, with interest and any appropriate other relief provided by law or equity.

         3.       All relevant relief available at law, in equity, or pursuant to the statutes pleaded

 herein or any other relevant law or rule, including but not necessarily limited to that set forth in

 each of the causes of action above.

         4.       The right reserved hereunder to add a claim for exemplary damages if permitted

 to do so and appropriate under C.R.S. § 13-21-102 or as otherwise provided by law.

         5.       Equitable relief based on the facts as they may appear, including declaratory,

 injunctive, and other such relief as may be required, including an accounting from all relevant

 entities.

         6.       Interest, costs, and attorney fees as the same may be allowed by law.

         7.       Such other and further relief as the Court deems just and equitable in the

 circumstances.

         DATED this 3rd day of April, 2020.

                                         CHRISTIANSEN LAW, PLLC


                                                 /s/ Stephen K. Christiansen
                                          Stephen K. Christiansen
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                                          Attorney for Plaintiffs




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                                   RULE 23.1 VERIFICATION

        I hereby verify on behalf of Sensoria, LLC, that the foregoing allegations made in

 connection with the derivative claims set forth herein are true and correct to the best of my

 knowledge, information, and belief. My electronic signature affixed with my authorization below

 shall be treated the same as an original signature.



                                               SENSORIA, LLC



                                               By:     /s/ Gordon Morton
                                                       Gordon Morton, Manager
                                                       (E-signature affixed with authorization
                                                       given to e-filer)
